
USCA1 Opinion

	










                                [NOT FOR PUBLICATION]

                            United States Court of Appeals
                                For the First Circuit
                                 ____________________

          No. 95-2290

                                 RUSCO STEEL COMPANY,

                                Plaintiff - Appellee,

                                          v.

                         ATKINSON-KIEWIT, J/V, ETC., ET AL.,

                               Defendants - Appellants.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF RHODE ISLAND

                [Hon. Raymond J. Pettine, Senior U.S. District Judge]
                                          __________________________

                                 ____________________

                                        Before

                               Torruella, Chief Judge,
                                          ___________

                            Bownes, Senior Circuit Judge,
                                    ____________________

                              and Stahl, Circuit Judge.
                                         _____________

                                _____________________

               John D. Deacon, Jr. for appellants. 
               ___________________
               Holly R.  Rao, with  whom Olenn  &amp;  Penza was  on brief  for
               _____________             _______________
          appellee.



                                 ____________________

                                   October 25, 1996
                                 ____________________




















                    Per Curiam.  This  case comes before us on  appeal from
                    Per Curiam.
                    __________

          the  district  court's  grant  of  partial  summary  judgment  to

          appellees  Rusco Steel Company ("Rusco").   At all times relevant

          to this case,  Rusco was a subcontractor to Atkinson-Kiewit Joint

          Venture  ("Atkinson")  on the  Jameson  Bridge  project in  Rhode

          Island.   Plaintiff  Richard  Cosimini worked  for  Rusco on  the

          project.  He brought  the original action against  Atkinson after

          he was injured during the course  of his employment with Rusco on

          the  Jamestown Bridge project.  Atkinson then filed a third party

          complaint against Rusco, claiming, in part, that Rusco failed  to

          procure certain  insurance as  required by  the contract.   After

          determining  that  Rusco  had  in fact  procured  the  insurance,

          Atkinson  voluntarily  dismissed   the  related  counts   without

          prejudice.  Thereafter, Rusco  and Atkinson brought cross motions

          for summary judgment on another issue related to the scope of the

          insurance coverage.  In  an amended decision, the  district court

          granted  Rusco  partial   summary  judgment   on  the   insurance

          procurement  issue  that had  previously  been  dismissed.   This

          appeal ensued.

                    After  Atkinson filed  its  brief in  this appeal,  the

          parties settled their dispute  through this court's Civil Appeals

          Management  Program  (CAMP).   Under  the  rules  of  this  court

          governing  CAMP,   parties  may  be  directed   to  consider  the

          possibility of settlement.   See First Circuit Rule 47.5.   Under
                                       ___

          the  terms of the settlement, all pending appeals and issues were




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          dismissed, except for  the grant of  partial summary judgment  to

          Rusco, the issue from which Atkinson now appeals.

                    The settlement of  the underlying  controversy in  this

          case  renders the  issue on  appeal moot.   United  States Parole
                                                      _____________________

          Comm'n v.  Geraghty, 445 U.S.  388, 395-97  (1980).  "It  is well
          ______     ________

          settled that  a case is  moot 'when the  issues presented  are no

          longer "live" or the  parties lack a legally  cognizable interest

          in the outcome, . . .  or alternatively, when the 'party invoking

          federal court  jurisdiction' no longer  has 'a personal  stake in

          the  outcome of  the  controversy.'"   Boston  &amp; Maine  Corp.  v.
                                                 ______________________

          Brotherhood  of Maintenance of Way Employees, 94 F.3d 15, 20 (1st
          ____________________________________________

          Cir.  1996) (citations omitted).   Once a case  or controversy is

          moot,  a   federal  court  no  longer   retains  jurisdiction  to

          adjudicate the merits of  the case.  U.S. Const. art. III,   2 et
                                                                         __

          seq.;  see   also  U.S.  Bancorp  Mortgage  Co.  v.  Bonner  Mall
          ____   __________  ____________________________      ____________

          Partnership, 115 S. Ct. 386, 390 (1994).
          ___________

                    "As  a general rule, when a case becomes moot on appeal

          --or an aspect thereof -- we vacate the district court's decision

          and remand with  a direction  to dismiss."1   Newspaper Guild  of
                                                        ___________________

          Salem v. Ottaway Newspapers,  Inc., 79 F.3d 1273, 1285  n.15 (1st
          _____    _________________________

          Cir. 1996); see also United States v. Munsingwear, Inc., 340 U.S.
                      ________ _____________    _________________

          36,  40 (1950) ("The established practice of the Court in dealing

          with a  civil case from a  court in the federal  system which has

          become moot while on its way  here or pending our decision on the
                              
          ____________________

          1  The party seeking vacatur  bears the burden of showing that it
          is entitled to such  equitable relief.  U.S. Bancorp,  115 S. Ct.
                                                  ____________
          at 392.  

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          merits is to reverse or vacate the judgment below and remand with

          a direction to dismiss.").  We vacate a lower court's judgment in

          order  to "clear[] the path for future relitigation of the issues

          between  the parties and eliminate[]  a judgment, review of which

          was prevented  through happenstance."   Munsingwear, 340  U.S. at
                                                  ___________

          40.  

                    We may  vacate the district court's  judgment under the

          Munsingwear    rule   only    when   mootness    arises   through
          ___________

          "happenstance,"  Munsingwear,  340  U.S.  at 40,  or  through  no
                           ___________

          voluntary action  on the  part of the  losing party below.   U.S.
                                                                       ____

          Bancorp,  115  S.  Ct. at  392.    "Where  mootness results  from
          _______

          settlement . . .  the losing party has voluntarily  forfeited his

          legal  remedy by the ordinary  processes of appeal or certiorari,

          thereby  surrendering  his  claim  to  the  equitable  remedy  of

          vacatur."  Id.   The  Munsingwear rule of  vacatur upon  mootness
                     ___        ___________

          does  not  include typical  settlement  situations  in which  the

          losing party  below voluntarily agrees to  a settlement rendering

          the case or  controversy before  the court moot.   In  settlement

          cases, only  exceptional circumstances will sway  the equities in

          favor of vacatur.  Id. at 393.
                             ___

                    Such  exceptional circumstances  are not  present here.

          Although Atkinson  sought in  the settlement process  to preserve

          this issue for appeal, the parties cannot by their agreement keep

          this  case ripe  for  appeal.    Id.  (noting  that  "exceptional
                                           ___

          circumstances do not  include the mere  fact that the  settlement

          agreement  provides for  vacatur").   By voluntarily  agreeing to


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          settle this case  during the pendency  of the appeal,  Atkinson's

          actions  rendered the underlying dispute moot.  In a sense, then,

          Atkinson "voluntarily abandoned review," id., and is not entitled
                                                   ___

          to the equitable measures it now seeks before this court.

                    In conclusion, the issue before  us has been mooted  by

          the  parties' voluntary settlement of the underlying controversy.

          There  being  no  exceptional  circumstances in  this  case  that

          warrant vacatur, we dismiss the appeal.

                    So ordered.  No costs to either party.
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